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AO 83 (Rev. 06/09) Summons in a Criminal Case


                                       UNITED STATES DISTRICT COURT
                                                                for the
                                                        District
                                                  __________     of Colorado
                                                              District of __________

                   United States of America                        )
                              v.                                   )
                                                                   )
                                                                   )       Case No. 1:20CR00131-1
                                                                   )
                  Juan Carlos Cruz Mancha                          )
                              Defendant                            )

                                                SUMMONS IN A CRIMINAL CASE

        YOU ARE SUMMONED to appear before the United States district court at the time, date, and place set forth
below to answer to one or more offenses or violations based on the following document filed with the court:

u Indictment               u Superseding Indictment        u Information u Superseding Information                     u Complaint
u Probation Violation Petition            ✔ Supervised Release Violation Petition u Violation Notice
                                          u                                                                        u Order of Court

Place:                                                                             Courtroom No.:

                                                                                   Date and Time:

          This offense is briefly described as follows:
Violation of Law
Excessive Use of Alcohol
Possession and Use of a Controlled Substance
Failure to Participate in Substance Abuse Testing as Directed by the Probation Officer




Date:
                                                                                         Issuing officer’s signature

                                                                                  Jeffrey P. Colwell, Clerk of Courts
                                                                                          Printed name and title



I declare under penalty of perjury that I have:

u Executed and returned this summons                           u Returned this summons unexecuted



Date:
                                                                                             Server’s signature

                                                                          Damillah Williams, United States Probation officer
                                                                                          Printed name and title
